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 ShareazaLE_Target IP.log: As a connection is
 established with the target, ShareazaLE creates a
 text file with the log extension that records
 milestones in the communication with the target
 computer. Events logged include the browse,
 number of files in the list, number of child
 notable matches, download status of every file
 attempted.




 Downloadheaders.txt: The Downloadheaders.txt file contains the headers from each message the
 target computer sends regarding the download of a specific file. One file is created for each file that
 ShareazaLE attempts to download, each named
 with the SHAl value of that particular file. This
 file will contain information such as:

 Content-Disposition - Name of the file being
 downloaded as it appears on the suspect's '.~~~~~l~~~;,~~~~~~::==~~~-·-~~--~-·--·..,- •·<AD~~
 computer.                                           t~::-=~.~';!";~3o-?::~;';!!;1
                                                      ...                                l ...._1M   0&1•.;1• .U•o lXW.~--U 1~- "'~ -0'l,, 'f..UO.la u   1,1M:• .'I.. ..l.U1.1. ., ..04,,._:IOo. l .t.l<'tUll',1t.~.l><. 1>11:..• l, 11. U
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 Content-Range - The byte range of the               ;~1;¥;~=1~::;.r~~~;~;~~~:-~:::::.::::~::::·::::~::~::::::.~:::N.                                                                                                       0
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 segment being sent and the total file size.
 X-Gnutella-Content-URN - SHAl value of the
 file being downloaded.

 X-Alt - Alternate download sources, these IPs are the ones the target most likely received segments
 of the file from when it was downloaded by the suspect.
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 ShareazaLE Magnets

 At times, the investigator may need to obtain a particular file regardless of its source. ShaeazaLE
 has the ability to download files from any source through the use of magnets. A file magnet is a
 Uniform Resource Identifier (URI) that is used to identify resources available for download on the
 peer-to-peer networks. Magnet jobs are created in Media Library (see chapter 3), and brought into
 ShareazaLE by choosing Download File/Torrent from the Tools menu or clicking the Add
 Download/Torrent button from the right side of the middle bar.

 Once brought in, ShareazaLE will attempt to find the file on the networks it is connected to,
 download the file from whatever source offers it, and display the progress on the Peers tab. A new
 entry named Magnets will be created under the existing IP based jobs.

 As ShareazaLE downloads the file, it will place the incomplete portion in the Incomplete folder
 under the C:\OCOps/ShareazaLE directory, and move the completed file into the Downloads folder
 found in the same ShareazaLE directory. The completed file will be titled with the SHAl value.
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       CPS logs hash values and filenames of files advertised by a suspect IP over a period of time. An
       investigator cannot be certain, based on hash value and filename alone, that a file is in fact child
       pornography meeting the legal requirements for their jurisdiction. Media Library allows you to
       make that determination immediately.

                                                                                       Looking at the figure to the left, can
        1±1 Adult Erotic (5)
                                                                                       we say for sure that all 19 5 files are
        IE Age Difficult (9)                                                           all Child Pornography?
        IE Child Erotic (21 )
                                                                                       Media Library will read the hash
        1±1 Child Notable (195)                                                        values from all the files advertised
                                                                                       by this suspect IP and compare
        IE Child other (4)
                                                                                       them to your local library. You will
        IE No Known Relevance (2)                                                      be able to immediately view the
                                                                                       files that you have in your library,
        1±1 Not Categorized (203)
                                                                                       and you will have the option of
        1±1 Unknown (176)                                                              creating a download magnet to
                                                                                       retrieve the remaining files.

       After launching Media Library from the suspect IP report, all notable file hash values are retrieved
       from the IP report in CPS. All hash values are compared against your local library, and you are
       advised which files are present in you library.

       All of your default file details will be displayed, and, if the file is present in your library, it can be
       immediately viewed by checking the "show document" box under the viewer pane.

M~ia Libr~ry IK ns




                                    5KOtJIOEHYX3A61J7f.INVLZF60EG4ZF6"5E
                                    5K.JL51DE6UU58B77030FKOOYXSYJFIKX
                                    5WWt.lGU5EUTBZ5EN4UNUf.IROARXU35PF2
                                    5XlWP4DTEf,IRR7EBSEHVDFOXLAKUZHGYR
                                    6CVNA2t.14CVTGITUTGJEOSUKJX4NKEBC5




                                    7C37E20R2LTA2LKV~4C5LVDROYVKNCTT
                                    7FSVPXFSS4TUKK16ZFTUXOHOAZ~XOVSR
                                    7GSl~SYZPBE/\JUAC"3ZA2SX2UC70PXSEH
                                    l\5N5VDHTXSt.1RNODPYOBHOPOGWCPGDS3f
                                    AAK08HDBUU6WJHOAALPGEr.IWOFZWDT4S
                                    AC5XB/J43RZVIJT6G26El4A7K5PQLOPCW7
                                       R3T2A7JTVYY4EILVSLFEVOJYTOILCX
                                                                            Even if the file 1s not present in
                                                                            your library. you will likely see
                                                                            notes from other 1nvest1gators
                                                                            who previously ..,ewed the file
                                                                               This will give you some
                                                                           1nd1cat1on about tt'e content but


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                                                                           must never be relied on
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 This can be accomplished by creating a download magnet that will search all connected peer to
 peer networks for the specific hash value of the file contained in your target's IP report. This allows
 you to have a broader perspective of the files your target possessed and affords you an easy
 mechanism to build your local library.

 A dialog box will appear showing the hash values of all the selected files along with the commands
 required by Shareaza LE to obtain the files.

 Shareaza LE will obtain the files from any available network: Gnutella 1, Gnutella 2 or eDonkey.
 Shareaza LE will also obtain the download from multiple sources; magnet downloads are exempted
 from the single source limitation of Shareaza LE.

 Select all of the text in the dialog box and press <CTRL> C for copy.

                 - Downlood   Ma-g~

                  magnet ?J.t=urn sha1.4ZCXSYHRFZJLKWYZIZWl4A77AOOTXTBl&Jd=171 483&dn=4ZCXSYHRFZJLKWYZIZW14A77AOOTXTBI JPg
                 ~a gnel ?>I=urn sha1.5KJL51DE6UU5887703DFKDOYXSYJFIKX&xl=89335&dn=5KJL51DE6UU5887703DFKDOYXSYJFIKX1pg
                 l'.''agnel ?>.l=Urn•sha1.7C37E20R2LTA2LKVA4C5LVDROYVKN CTT&Jd=109877&dn=7C37E20R2LTA2LKVA4C5LVDROYVKNCTT !PO
                  magnet ?).l=urn.sha1_7FSVPXF5S4TUKKl6ZFTUXOHOAZ4XOV5R&.xJ=9447524&dn;7FSVPXF5S4TUKKJ6ZFTUXOHOAZ4XOV5R avi
                  magnet ?>.!=um sha1.AHJOCJYYYVlZFl4U l.1 506RFKD3E 35Z7X4&xl=70498& dn =AHXX3YYYVLZFl4U~l5Q6R FKD3E 35Z7X4 Jpo
                  magnet ?>.t=urn sha1 BKNKOXS7X4DBEKIJW06TKKVU04UWl.IJGHZ&xl= 180956&dn=BKNKOXS7X4DBEKMW06TKKVU041AWl.IJGHZ.Jpg
                  magnet ?>l=u rn·sha 1:C5WJ4EJAUE2DDl.IRE7CZVS3KZl.IWBX05Z2&xl=40404&dn=C5WJ4EJAUE2DDl.IRE7CZVS3KZIAWBX05Z2
                  magnet?>t=u rnsha1.C6EKRSQIQ6ZW4XJ5Y7KICAV31AOJ6427U&xl=91107&dn=C6EKRSOI06ZW4XJ5Y7KICAV31AOJ6427U.JP9
                 1magnet ?J.l=urn:sha1 .E5XCRQHSOEJRFQGM32VOLIRS4F2'NWEGl&xl=28917760&dn=E5XCROHSQEJRFOGl.132VQURS4F'l'NWEGl. alli
                  magnet ?>l=um sha 1.E7EUYHHDAZGPEEXFD5543AEZIWHG6VHY&xl=59458&dn=E7EUYHHD AZGPEEXFD5543AEZIWHG6VHY JP9
                  ma9net?>l =um.sha1 .EONZGUFLGZN0047HN5JHJ4HEU RJFF 37&xl=108632&dn=EONZGUFLGZN0047HN5.IHJ4HEURJFF37 JP9




                 El Download Magnets
                 rmagnet:?1t=urn sha1   4ZCXSYHRFLJLKV'IVZIZ\'\'1.tA77AOOTXT81&·d=171483&dn=4ZCXSYHRFZJLh.··wyz1zw14A.77AOQ
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                  mai;net?J.l=um sha 1 5KJL51DE6UU5887703DFKDOYXSYJFIKX&xl=89335&dn=5KJL51DE6UU5B87703DFKDOYXSYJFIKX JP9
                 [mai;net ?J.l=urn sha 1.7C37E20R2lTA2l~VA4C5LIDROYVKNCTT&t1 =109877 &dn=7C37E20R2lTA2LKVMC5lVDROYVKNCTT JPg
                  magnet. ?>t=urn sha 1.7FSWXF5S4TU~~16ZFTUXOHO•Z4XOV5R&<l= 944 7524&dn=7F S'JPXF5S4TUKKl6ZFTUXOHOAZ4XOV5Ra·.1
                 ln ai;net?>l=urn sha1 AHXX3YYYVlZFl4LllA506RFKD3E3527X•&•1=7049S&dn=~XX3YYYVlZF14LllA506RFKD3E35Z7l<4 JP9
                  magnet ?>t=urn sha1 BKNKOXS7X<D8Et-.l.W106TKKV\J041.t\•niJGHZ&C<I= 180956&dn=BKNKOXS7X4DBEKl.l ,\06 TIO<V\J041.t,\ l~JGHZ JPO
                  magnet ?xl=um sha1 ·c5VIJ4EJ•UE2DDMRE7CZVS3KZl.M BX0522&<1=40404&dn=C5WJ•EJAUE2DDMRE7CZVS3KZMWBX05Z2
                  magnet?>t=um sha1 C6EKRSOl06ZI\ 4XJ5Y7KICAV31~0J6427U&>i=91107&dn=C6EKRSOI06Zl'l4 <.J5Y7KIC•V31JOJ6427U !PQ
                  magnet:?J.t=um sha1 ESXCROHSOEJRFOGl.132VOLIRS4F21'/WEGl&xl=2891 7760&dn=ESXCROHSOEJRFOGl~32'10LIRS4F21'/WEGI z.1
                 imagnet ?J.t=um sha 1.E7EUYHHDAZGPEEXFD5543AEZIWHG6VHY& d=59458&dn=E 7EUYHHDAZGPEEJ\FD5543AEZIWHG6VHY JPg
                  mag:net ?d=urn sha1 EOtJZGUFLGZN004 7HfJ5JHJ4HEURJFF37&xl=108632&dn=E0fJZGUFLGZN0047HN5JHJ4HEURJFF37 JPO




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 Open Shareaza LE.    In the bottom right hand corner there will be an option to "Add
 Download/Torrent". Click here and paste the magnet information by pressing <CNTRL> V.

 A "Magnets" entry will appear on your peers tab. Clicking on the "Magnets" entry will show you the
 magnet files that you are currently downloading.




                                                                              Magnets




                                                                             ~ Refresh   ~ Delete
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         You can view your completed magnet downloads by clicking on your "History" tab, then expanding
         the ShareazaLE folder and clicking on the "Downloads" folder. You can also open the "Downloads"
         folder in Windows explorer by double clicking on the folder.

         Once your magnet downloads are complete, you can import them into your Media Library by
         selecting and dragging them on the 'Viewer" pane, as discussed earlier. If you have configured
         auto-adding of notable files, they will be automatically added to your library.




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